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                    IN THE UNITBD STATES DISTRICT COUIRT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION

UNITED STATES OF AMERICA

              v.                                   CR 108-112

MARCUS TERRELL MILLER



                                      ORDER

       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed. Accordingly, the

Report and Recommendation ofthe Magistrate Judge is ADOPTED as the opinion ofthe

Court. Therefore, the motion to dismiss the indictment filed by Defendant Marcus Terrell

Milier is DENIED. (Doc. no. 22).

       SO ORDERED this           Jay ofDecember, 2008, at Augusta, Georgia.



                                     J.
                                     UNJPED STATES DISTRICT JUDGE
